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            EXHIBIT B
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                        United States District Court
                      Northern District of California
                              San Jose Division
                        Case No. 11-cv-01846 LHK




                                  APPLE INC.
                                         v.
 SAMSUNG ELECTRONICS CO., LTD., SAMSUNG ELECTRONICS
AMERICA, INC., SAMSUNG TELECOMMUNICATIONS AMERICA, LLC




            Rebuttal Expert Report of Michael J. Wagner
                         for 2018 Trial on Damages
                               January 29, 2018




                                                                                  i
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                   the back-up materials and the key financial spreadsheets that Mr. Musika,
                   Ms. Davis, and I relied upon. Further, Apple had the opportunity to
                   depose financial witnesses for both STA and SEA after the March 21st
                   production, the last production of which Ms. Davis complains about errors
                   in the data.
              •    Ms. Davis’s treatment of Samsung’s data was inconsistent with her
                   treatment of Apple’s data:
                       o   As I pointed out in my Supplemental Report, Apple’s data included
                           changes from production to production, yet Ms. Davis did not call
                           that data into question.236
                       o   Ms. Davis stated that Apple cannot provide financial information
                           as granular as revenue by model, but Ms. Davis had no problem
                           with this and simply accepted Apple’s high level calculations. By
                           contrast, Samsung produced an extensive dataset of financial
                           data by model, by month for U.S. sales.
                       o   Most importantly, the Apple data upon which Ms. Davis relied to
                           calculate U.S. profitability was worldwide data. This is not only
                           unreliable data for her intended purpose, it is also known to
                           overstate the selling price, as I discuss elsewhere in my report. I
                           discussed this issue in my Original Report and at trial, so Ms.
                           Davis was well aware of the issue, yet she has made absolutely
                           no adjustment to her calculations to account for this fact.
              •    Ms. Davis complained that the financial data was produced solely for use
                   in this litigation. However, that is the norm for data relied upon by
                   damages experts, and certainly is the norm for the cases in which I have
                   served as the damages expert. Indeed, such data is generally the most
                   reliable data because it is tailored to products at issue in this case. I note
                   that further evidence that this data is the most reliable data comes from
                   the fact that Samsung produced numerous other financial documents
                   kept in the ordinary course of business in both the course of discovery
                   and in response to the motion to compel, yet Apple’s experts chose to
                   continue to rely upon the very data that Ms. Davis complained about.
              •    Ms. Davis cited to testimony where SEC’s financial witness refuses to
                   disclose whether Samsung uses standard costs or actual costs to
                   calculate COGS. However, she did not explain why this has any effect on
                   her analysis whatsoever. Whether the costs are recorded as actual cost
                   or a standard cost + a variance, the net cost is identical and there is no
                   impact on the COGS.

                           (1) Samsung’s audited financials confirm that Ms. Davis’s opinion
                               that Samsung’s financial data is unreliable is incorrect.

          124.     The profitability reported by Samsung in the financial documents on which Ms.
Davis and I rely is consistent with Samsung’s reported profitability in its audited financials. As


236
      Supplemental Expert Report of Michael J. Wagner, May 11, 2012, p. 12.



                                                                                                    63
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Ms. Davis calculated, Samsung’s operating profit is                 for all products at issue in the
litigation.237    Samsung’s 2011 audited financial statements report segment information for
different segments, including the Telecommunications segment. Samsung reported a 14.9%
operating profit margin for the Telecommunications segment in 2011.238 In 2010, Samsung
reported an operating profit margin of 10.9% for the Telecommunications segment.239 The
operating profit rates in Samsung’s financials are consistent with the operating profit that Ms.
Davis calculated for all products at issue in the litigation.240 Therefore, this data belies any
notion that Samsung is somehow underreporting the profitability that it earned on the products
found to infringe.


                          (2) Effect of excluding SEC’s operating expenses.

         125.      I have calculated (using the financial data for U.S. sales) the amounts by which
Ms. Davis has overstated Samsung’s profits by excluding SEC’s operating expenses for the
sixteen products at issue in the 2018 Trial that were found to infringe design patents, as follows:




237
    Davis 2018 Report, Exhibits 50-S. [2.2]
238
    Samsung reported 8,269,798 in operating profit and 55,534,042 in revenue from external customers
    (in millions of Korean Won) for the Telecommunications segment. (2011 Samsung Electronics Annual
    Report,
    <http://www.samsung.com/us/aboutsamsung/ir/financialinformation/annualreport/downloads/2010/SEC
    AR2010_Eng_Final.pdf>, p. 75. [3.5])
239
    Samsung reported 4,359,254 in operating profit and 40,069,950 in revenue from external customers
    (in millions of Korean Won) for the Telecommunications segment. (2011 Samsung Electronics Annual
    Report,
    <http://www.samsung.com/us/aboutsamsung/ir/financialinformation/annualreport/downloads/2010/SEC
    AR2010_Eng_Final.pdf>, p. 76. [3.5])
240
    Davis 2018 Report, Exhibits 50-S. [2.2]



                                                                                                 64
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features, such that HTC cannot implement a feature in exactly the way that Apple has
previously implemented the feature.         However, these cloning restrictions apparently do not
cover “pinch to zoom” functionality, do not cover any feature provided to HTC within the Google
Android system, and only cover situations where HTC had available alternatives that would
provide the same functional, cost, and performance advantage.399                Therefore, the cloning
restrictions have little effect on the utility patents at issue in the 2018 Trial.

          239.     The two utility patents at issue in the 2018 Trial are a small portion of Apple’s
patent portfolio even after netting the value of HTC’s patent portfolio against Apple’s patent
portfolio. As I discuss above, Apple had asserted 32 unique patents against HTC in various
litigations. The two utility patents are a small subset of the IP specifically asserted against HTC,
and an even smaller portion of Apple’s entire patent portfolio.

          240.     As I discuss in my Georgia-Pacific analysis below, I have concluded a
significantly lower reasonable royalty due to Apple based on the availability to Samsung of
acceptable, noninfringing alternatives. Nonetheless, this alternative measure of a royalty rate
would serve as a cap for the amount that Samsung would be willing to pay, especially
considering i) the number of utility patents (two) at issue in the 2018 Trial relative to the number
licensed in the Apple/HTC Agreement, and ii) the royalty rate only applied to future sales and
HTC was not required to pay based on past sales.

          241.     I note that Ms. Davis’s concluded cumulative royalty rate of $4.04 per unit for the
two utility patents at issue in the 2018 Trial is not supported by the royalty rate that Apple
achieved in the Apple/HTC agreement for its entire utility patent portfolio.


          B. Samsung’s Profits Related to the Article of Manufacture for the Design
             Patents

          242.     As I described above in Section I, one purpose for the 2018 Trial is to calculate
the damages due for the 16 products that were found to infringe at least one design patent. In
addition to damages under Section 284, products found to infringe a design patent can be
awarded damages under Section 289, which states:

              Whoever during the term of a patent for a design, without license of the
              owner, (1) applies the patented design, or any colorable imitation thereof,

399
          Patent License and Settlement Agreement between HTC America, Inc., HTC Corporation and S3
      Graphics Co., Ltd and Apple Inc., November 11, 2012, APLNDC-Y0000408242-383 at ‘273. [16.11]



                                                                                                  103
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                 to any article of manufacture for the purpose of sale, or (2) sells or
                 exposes for sale any article of manufacture to which such design or
                 colorable imitation has been applied shall be liable to the owner to the
                 extent of his total profit, but not less than $250, recoverable in any United
                 States district court having jurisdiction of the parties.

           243.       Judge Koh has concluded that the test for determining the article of manufacture
to which the design has been applied for the purpose of § 289 shall be the following four
factors.400

                 •    The scope of the design claimed in the plaintiff’s patent, including drawing
                      and written description;
                 •    The relative prominence of the design within the product as a whole;
                 •    Whether the design is conceptually distinct from the product as a whole;
                      and
                 •    The physical relationship between the patented design and the rest of the
                      product, including whether the design pertains to a component that a user
                      or seller can physically separate from the product as a whole, and
                      whether the design is embodied in a component that is manufactured
                      separately from the rest of the product, or if the component can be sold
                      separately.

           244.       As I describe in further detail below, I understand that the parties disagree on the
articles of manufacture to which the design has been applied (the “AOM”) for the D’305, D’677,
and D’087 Patents. In short, Apple contends that the AOM is the entire phone for each of the
design patents at issue, whereas Samsung contends that it is something less than the entire
device. Therefore, in this section, I first lay out my understanding of Apple’s and Samsung’s
positions relating to the AOM for each design patent, then discuss the entire profit from sales of
products found to infringe at least one design patent, then discuss different approaches to
determine the total profit related to the AOM identified by the parties.


            1.       Apple’s and Samsung’s Positions on the Article of Manufacture

           245.       In this section, I summarize my understanding of the parties’ positions about the
articles of manufacture to which the design has been applied for each design patent.




400
      Order Requiring New Trial on Design Patent Damages, October 22, 2017, p. 35. [20.2]



                                                                                                      104
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                   a)   Apple’s Position

        246.     Based upon Apple’s interrogatory responses and its expert reports, I understand
that Apple’s position is that the article of manufacture to which the design is applied is the entire
phone for each of the design patents at issue.

        247.     In its response to an interrogatory asking Apple to identify the article of
manufacture to which it contends Samsung applied a patented design, Apple responded as
follows:401

              The articles of manufacture to which Samsung applied the D’677 patent
              are the Samsung phones adjudicated to infringe the D’677 Patent
              according to the August 24, 2012 Amended Jury Verdict in this case (Dkt.
              1931). The articles of manufacture to which Samsung applied the D’087
              Patent are the Samsung phones adjudicated to infringe the D’087 Patent
              according to the August 24, 2012 Amended Jury Verdict in this case (Dkt.
              1931). The articles of manufacture to which Samsung applied the D’305
              Patent are the Samsung phones adjudicated to infringe the D’305 Patent
              according to the August 24, 2012 Amended Jury Verdict in this case (Dkt.
              1931).

              As demonstrated by the jury’s infringement verdict, Samsung applied
              Apple’s patented designs to the Samsung phones adjudicated to infringe
              the D’677 Patent, D’087 Patent, and D’305 Patent according to the
              August 24, 2012 Amended Jury Verdict in this case (Dkt. 1931) (the
              “Infringing Phones”) for the purpose of sale. The Infringing Phones, in
              their entirety, are the things that may most fairly be said to embody
              Samsung’s appropriation of Apple’s patented designs.

        248.     In addition, Apple’s experts opined that the AOM for each patent is the entire
phone. Mr. Ball opines that the articles of manufacture to which Samsung applied the patented
design of the D’677 Patent are the Samsung phones found to infringe that patent, in their
entirety.402 Similarly, Mr. Ball opines that the articles of manufacture to which Samsung applied
the patented design of the D’087 Patent are the Samsung phones found to infringe that patent,
in their entirety.403 In forming these opinions, Mr. Ball made three observations:404



401
    Apple’s Second Supplemental Objections and Responses to Samsung’s First Set of Interrogatories
    Regarding Article of Manufacture, Response to Interrogatory No. 1, pp. 3-4. [21.2]
402
    Opening Expert Report of Alan D. Ball Regarding “Article of Manufacture” for the Samsung Products
    Found to Infringe U.S. Patents D618,677 and D593,087, January 15, 2018, p. 1. [21.3]
403
    Opening Expert Report of Alan D. Ball Regarding “Article of Manufacture” for the Samsung Products
    Found to Infringe U.S. Patents D618,677 and D593,087, January 15, 2018, p. 1. [21.3]
404
    Opening Expert Report of Alan D. Ball Regarding “Article of Manufacture” for the Samsung Products
    Found to Infringe U.S. Patents D618,677 and D593,087, January 15, 2018, p. 1. [21.3]



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              First, the patented D’677 and D’087 designs were embodied into the
              Samsung infringing phones in fundamental ways. The claimed designs
              relate to the front face—clearly the most important side of the phone and
              the side that is visible to the user when performing critical operations (like
              dialing phone numbers, reading messages or web content, and launching
              core software applications), and prominently featured in Samsung’s
              advertising and packaging. These are not designs that could be physically
              disaggregated from the full products in ways like designs for discrete
              modular components in modular product systems can be.

              Second, Samsung’s use of the Apple designs was directed towards full,
              unitary products: namely, the infringing phones. Samsung assembled
              various components and manufactured them into full, unitary products.
              Samsung marketed those products to consumers as full, unitary
              products—Samsung did not, for example, encourage users to break the
              products apart into constituent parts and use them separately. And
              indeed, actual use by end users was of unitary products. Simply put,
              Samsung was in the business of making and selling complete phones,
              and used Apple’s patented designs for the infringing phones that it sold.

              Third, […] Apple created the patented D’677 and D’087 designs to make
              the iPhone attractive, compelling, and desirable to consumers, and in
              doing so created a larger product identity—a phenomenon that Apple
              promotes with its “product as hero” approach—that is consistent with
              Apple’s reputation for design excellence. Samsung then applied those
              patented designs to increase their sales by achieving the same goals:
              making the infringing phones attractive and desirable to users, and
              associating the infringing Samsung phones with the identity that Apple
              created for the iPhone.

          249.     Dr. Kare opines that the articles of manufacture to which Samsung applied the
patented design of the D’305 Patent are the Samsung phones found to infringe that patent, in
their entirety.405


                     b)   Samsung’s Position

          250.     For each design patent at issue, I understand that Samsung’s position is that the
article of manufacture to which the design has been applied is something less than the entire
phone. I discuss the specific AOM for each design patent below.


                          (1) D’677 Patent

          251.     For the D’677 Patent, I understand that Samsung contends the AOM is the black,
round-cornered, glass front face of each infringing phone.

405
      Expert Report of Susan Kare Regarding “Article of Manufacture” for the Samsung Products Found to
      Infringe U.S. Patent D604,305, January 15, 2018, p. 1. [21.4]



                                                                                                    106
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        252.     In its interrogatory response asking Samsung to identify the AOM for the D’677
Patent, Samsung responded as follows:406

            Samsung contends that with respect to the D’677 patent, the Article of
            Manufacture for the Fascinate (JX 1013), Galaxy S 4G (JX 1019), Galaxy
            S II (AT&T) (JX1031), Galaxy S II (T-Mobile) (JX 1033), Galaxy S II (Epic
            4G Touch) (JX 1034), Galaxy S II (Skyrocket) (JX 1035), Infuse 4G (JX
            1027), Mesmerize (JX 1015), Showcase (JX 1017), and Vibrant (JX 1010)
            (as limited to the model and designs embodied in each enumerated
            exhibit and not to any unadjudicated alternative designs) consists of the
            black, round-cornered, glass front face of each phone.

        253.     In addition, in my conversation with Sam Lucente, he confirmed that his opinion
is that Samsung’s interrogatory response correctly states the Article of Manufacture to which the
D’677 patented design is applied.407


                        (2) D’087 Patent

        254.     For the D’087 Patent, I understand that Samsung contends the AOM is the
round-cornered, glass front face and surrounding rim or bezel of each infringing phone.

        255.     In its interrogatory response asking Samsung to identify the AOM for the D’087
Patent, Samsung responded as follows:408

            Samsung contends that with respect to the D’087 patent, the Article of
            Manufacture for the Galaxy S 4G (JX 1019) and the Vibrant (JX 1010) (as
            limited to the model and designs embodied in each enumerated exhibit
            and not to any unadjudicated alternative designs) consists of the round-
            cornered, glass front face and surrounding rim or bezel of each phone.

        256.     In addition, in my conversation with Sam Lucente, he confirmed that his opinion
is that Samsung’s interrogatory response correctly states the Article of Manufacture to which the
D’087 patented design is applied.409


                        (3) D’305 Patent


406
    Samsung’s Second Supplemental Objections and Responses to Plaintiff Apple Inc.’s First Set of
    Interrogatories Regarding Article of Manufacture, Response to Interrogatory No. 1, December 21,
    2017, p. 2. [21.5]
407
    Conversation with Sam Lucente, January 29, 2018.
408
    Samsung’s Second Supplemental Objections and Responses to Plaintiff Apple Inc.’s First Set of
    Interrogatories Regarding Article of Manufacture, Response to Interrogatory No. 2, December 21,
    2017, pp. 20-21. [21.5]
409
    Conversation with Sam Lucente, January 29, 2018.



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        257.        For the D’305 Patent, I understand that Samsung contends the AOM is the
display screen while displaying the single, patented array of GUI icons or, alternatively, the
display screen.

        258.        In its interrogatory response asking Samsung to identify the AOM for the D’305
Patent, Samsung responded as follows:410

              Samsung contends that with respect to the D’305 patent, the Article of
              Manufacture for the Captivate (JX 1011), Continuum (JX 1016), Droid
              Charge (JX 1025), Epic 4G (JX1012), Fascinate (JX 1013), Galaxy S 4G
              (JX 1019), Gem (JX 1020), Indulge (JX 1026), Infuse 4G (JX 1027),
              Mesmerize (JX 1015), Showcase (JX 1017), and Vibrant (JX 1010) (as
              limited to the model and designs embodied in each enumerated exhibit
              and not including any unadjudicated alternative designs) consists of the
              display screen while displaying the single, patented array of GUI icons.

              […]

              Alternatively, if the relevant article of manufacture is not the display
              screen while displaying the single, patented array of GUI icons, the
              relevant article of manufacture is at most the display screen.

        259.        In addition, in my conversation with Sam Lucente, he confirmed that his opinion
is that Samsung’s interrogatory response correctly states the Article of Manufacture to which the
D’305 patented design is applied.411


         2.    Rebuttal Opinions to Ms. Davis’s “Supporting” Opinions with respect to
               Article of Manufacture

        260.        In addition to relying up the opinions of Apple’s experts addressing Article of
Manufacture that the entire phone is the appropriate article of manufacture, Ms. Davis includes
an 11-page section in which she offers opinions that she contends “support” the other experts’
conclusions. In relevant part, Ms. Davis states:412

              The four factors incorporate a wide amount of relevant information that
              reflects some topics that are primarily issues for someone who designs
              products or relevant articles and other topics that reflect how companies
              structure their businesses, market and sell their products and how those
              products are received or used by consumers. I have no experience as a

410
    Samsung’s Second Supplemental Objections and Responses to Plaintiff Apple Inc.’s First Set of
    Interrogatories Regarding Article of Manufacture, Response to Interrogatory No. 3, December 21,
    2017, pp. 38, 45. [21.5]
411
    Conversation with Sam Lucente, January 29, 2018.
412
    Davis 2018 Report, pp. 50-51. [2.2]



                                                                                                      108
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               product designer, and I am relying on the work and analysis of two design
               experts, Alan Ball and Dr. Susan Kare, when it comes to topics and
               information associated with those disciplines. I have experience and have
               done analysis regarding Apple and Samsung, how they sell their products
               and how those products were received in the market during the damages
               period.

               As noted above, I have spoken to Alan Ball and Dr. Susan Kare, two of
               Apple’s experts on the topic of design and design patents. Each has
               evaluated Apple’s patented designs, has evaluated the Samsung
               smartphones found to infringe Apple’s patents, and has evaluated
               information relevant to the topics stated above. I understand from each of
               them that they have concluded that the article of manufacture to which
               Samsung applied the designs of the D’305, D’677, and D’087 Patents is
               the Samsung smartphones found to infringe those patents in their
               entirety. I have relied on their conclusions in my analysis of Samsung’s
               total profits in connection with the damages calculations included in this
               report. As discussed below, the evidence from the parties’ business
               models, accounting activity, and marketing conduct provides additional
               information relevant to the four factors stated above, which support Mr.
               Ball’s and Dr. Kare’s conclusions that the article of manufacture to which
               Apple and Samsung applied the patented designs are the smartphones
               as a whole.

           261.     While Ms. Davis does not address the first factor for identifying the AOM, she
precedes to discuss evidence that she contends supports that the entire phone is the AOM
under Factors two, three, and four.413 In this section, I address points raised by Ms. Davis in her
“supporting” opinions section relating to the AOM.


                      a)   Ms. Davis’s discussion of design is not tied to the specific designs at
                           issue.

           262.     In her discussion of Factor 2 of the AOM test (“the relative prominence of the
design within the product as a whole”), Ms. Davis discusses the importance of design generally
to the iPhone, but these statements are not tied to the specific designs at issue in this case and
therefore are not probative of prominence. For example, the statements that Ms. Davis calls out
in her discussion includes statements discussing “beautiful design” and “sleek product design,”
which appear to apply to design in general, rather than the specific designs at issue.

           263.     Ms. Davis admits that the design patents at issue don’t claim the entire design of
either the iPhone or Samsung’s phones. For example, she states: “I understand from Mr. Ball
and Dr. Kare that the three design patents individually and collectively reflect elements of the

413
      Davis 2018 Report, pp. 51-61. [2.2]



                                                                                                  109
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visual image that a user or consumer sees while looking at the front face of the iPhone when the
iPhone is turned off or when the iPhone is turned on and is presenting the application
screens.”414

       264.      I understand the D’087 and D’677 patents only claim a portion of the exterior
design.415 Further, I understand the D’305 patent does not relate to the exterior design of the
products at all, but instead only one specific arrangement of icons on a specific graphical user
interface screen. Therefore, evidence related to “design” generally does not show the extent of
relevant consumer value at issue in this case.

       265.      The sources cited by Ms. Davis focus on design generally, and do not provide
evidence of “the relative prominence of the design within the product as a whole.” For example,
Ms. Davis first cites to evidence that Apple “repeatedly used images of the front face of the
iPhone in its marketing and advertising materials in order to emphasize and illustrate the
attributes of Apple’s patented designs,” and she also cites to third party and Samsung
documents using equivalent visual images to identify Apple’s iPhone.416 However, the fact that
articles or reviews include a picture of the product is not remarkable, and does not speak to the
prominence of the patented design. Reviews of Samsung’s phones included images of the front
face of the phone even prior to the time that Samsung was first found to infringe the design
patents at issue as well as for Samsung phones that were never accused of infringement. For
instance, a review by CNET of the Samsung Eternity written on November 19, 2008 included a
picture of the phone that prominently featured its front face.417 Similarly, a review by CNET of
the Samsung Bound written in May 2009 prominently featured the phone’s display screen
throughout the review.418 Another review by CNET of the Samsung Flight written in November
2009 also featured the phone’s front face.419 It is a common practice to show products in
consumer product reviews, and including images of products provides no evidence about
prominence of the design.


414
    Davis 2018 Report, p. 52. [2.2]
415
    Order Requiring New Trial on Design Patent Damages, October 22, 2017, p. 31. [20.2]
416
    Davis 2018 Report, pp. 52-53. [2.2]
417
    Kent German, "Samsung Eternity (AT&T) Review," CNET, November 19, 2008,
    <https://www.cnet.com/products/samsung-eternity-at-t/review/>, accessed January 22, 2018. [20.11]
418
    Flora Graham, Samsung B2700 Bound Review, CNET, May 15, 2009,
    <https://www.cnet.com/uk/products/samsung-b2700-bound/review/>, accessed January 25, 2018.
    [22.13]
419
    Kent German, "Samsung Flight Review," CNET, November 19, 2009,
    <https://www.cnet.com/products/samsung-flight/review/>, accessed January 25, 2018. [22.14]



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        266.      Ms. Davis cites to Phil Schiller’s testimony about the “product as a hero”
marketing message.420 However, this discussion is about the entire product, not the specific
design elements covered by the design patents at issue, and is therefore unsupportive of her
discussion about prominence of the patented design.

        267.      Ms. Davis cites to “public acclaim and consumer demand for Apple’s patented
designs reflected in the iPhone” as evidence that “Apple’s patented designs had a significant
effect on consumer perceptions of smartphones as a whole.”421 However, the second does not
follow from the first. Ms. Davis is making a leap in logic that is not supported by the evidence
she cites.     She states that “[p]rominent technology reviewers commented favorably on the
appearance of the iPhone’s front face in published product reviews of the iPhone.”422 Her
support for this statement is three articles in her footnote 202G, in which she includes excerpts
of the discussion. However, a fulsome read of her citations demonstrates that the discussion
has little to nothing to do with the design aspects covered by the design patents at issue.

        268.      Ms. Davis’s first citation is a June 27, 2007 Wall Street Journal article, in which
she cites that the “iPhone is simply beautiful.” However, the full section of the article that she is
citing discusses hardware aspects other than the front face or functionality in support of it being
“beautiful:”423

             Hardware: The iPhone is simply beautiful. It is thinner than the skinny
             Samsung BlackJack, yet almost its entire surface is covered by a huge,
             vivid 3.5-inch display. There's no physical keyboard, just a single button
             that takes you to the home screen. The phone is about as long as the
             Treo 700, the BlackBerry 8800 or the BlackJack, but it's slightly wider
             than the BlackJack or Treo, and heavier than the BlackBerry and
             BlackJack.

             The display is made of a sturdy glass, not plastic, and while it did pick up
             smudges, it didn't acquire a single scratch, even though it was tossed into
             Walt's pocket or briefcase, or Katie's purse, without any protective case or
             holster. No scratches appeared on the rest of the body either.

             There are only three buttons along the edges. On the top, there's one that
             puts the phone to sleep and wakes it up. And, on the left edge, there's a
             volume control and a mute switch.


420
    Davis 2018 Report, p. 52. [2.2]
421
    Davis 2018 Report, p. 53. [2.2]
422
    Davis 2018 Report, p. 53. [2.2]
423
    Walter S. Mossberg and Katherine Boehret, "Testing Out the iPhone," The Wall Street Journal, June
    27, 2007, APLNDC-Y0000234932-936 at '933. [20.12]



                                                                                                   111
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       269.     Ms. Davis’s second citation is a January 2007 New York Times article. While this
article discusses the look of the front face of the phone, Ms. Davis cuts off her citation before a
discussion of many other unrelated design aspects of the phone, including its sides and back
and its operating system in general:424

           As you’d expect of Apple, the iPhone is gorgeous. Its face is shiny black,
           rimmed by mirror-finish stainless steel. The back is textured aluminum,
           interrupted only by the lens of a two-megapixel camera and a mirrored
           Apple logo. The phone is slightly taller and wider than a Palm Treo, but
           much thinner (4.5 by 2.4 by 0.46 inches).

           You won’t complain about too many buttons on this phone; it comes very
           close to having none at all. The front is dominated by a touch screen (320
           by 480 pixels) operated by finger alone. The only physical buttons, in fact,
           are volume up/down, ringer on/off (hurrah!), sleep/wake and, beneath the
           screen, a Home button.

           The iPhone’s beauty alone would be enough to prompt certain members
           of the iPod cult to dig for their credit cards. But its Mac OS X-based
           software makes it not so much a smartphone as something out of
           “Minority Report.”

       270.     Ms. Davis’s third and final citation is to a Time magazine article. She includes a
portion of the section labeled “The iPhone is pretty,” but nothing in the section indicates that it is
discussing the front face of the phone. The one example in the section is about the airplane
icon in the status bar when in airplane mode:425

           1. The iPhone is pretty

           Most high-tech companies don't take design seriously. They treat it as an
           afterthought. Window-dressing. But one of Jobs' basic insights about
           technology is that good design is actually as important as good
           technology. All the cool features in the world won't do you any good
           unless you can figure out how to use said features, and feel smart and
           attractive while doing it.

           An example: look at what happens when you put the iPhone into
           "airplane" mode (i.e., no cell service, WiFi, etc.). A tiny little orange
           airplane zooms into the menu bar! Cute, you might say. But cute little
           touches like that are part of what makes the iPhone usable in a world of
           useless gadgets. It speaks your language. In the world of technology,
           surface really is depth.

424
    David Pogue, "Apple Waves Its Wand at the Phone," The New York Times, January 11, 2007,
    APLNDC-Y0000235973-976 at '973-974. [20.13]
425
    Lev Grossman, "Invention of the Year: The iPhone," TIME, November 1, 2007, APLNDC-
    Y0000146961-962. [20.14]



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       271.     Finally, Ms. Davis discusses various Samsung documents that she concludes
“noted the significance of the iPhone’s appearance to the iPhone’s success.”426 Similar to other
documents cited by Ms. Davis, these documents are not tied to the specific design features
covered by the designs at issue.

       272.     For example, Ms. Davis first discusses a September 2007 presentation that she
states “observed that the iPhone’s ‘beautiful design’ was one of the ‘Factors that Could Make
iPhone a Success.’”427 Beyond the fact that this is an observation that it could make iPhone a
success, Ms. Davis doesn’t present any evidence that the “beautiful design” being discussed in
the presentation has anything to do with Apple’s designs at issue and therefore that it speaks to
the prominence of those designs.

       273.     Ms. Davis next cites a September 2008 internal Samsung email that she
summarizes as stating “implementation of sleek product design as shown by iPhone would be
what is considered by product planning and sales as the greatest appealing factor.”428 I first
note that Ms. Davis takes the quote out of context. The email that she cites is discussing two
alternative types of touch screens (C-Type vs. R-Type), and the email discusses three
advantages to the C-Type, and of these three advantages, the senders say that the sleek
design would have the greatest appealing factor: “The C-type has 3 advantages: sleek exterior
appearance in product design; better sensitivity of the touch screen; and multi-touch. Of these, I
am thinking that the implementation of sleek product design as shown by iPhone would be what
is considered by product planning and sales as the greatest appealing factor.”429 Ms. Davis’s
citation of this document misleadingly suggests that sleek product design would be considered
as the greatest appealing factor of all factors, not just the three particular advantages of a
particular implementation of a touchscreen.

       274.     In addition, this evidence is not tied to the specific designs at issue.              I
understand, for example, that Apple does not claim a monopoly on a “sleek product design”, to
the contrary, I understand Apple’s expert Peter Bressler made clear that it does not.430 Later in


426
    Davis 2018 Report, p. 53. [2.2]
427
    Davis 2018 Report, p. 54. [2.2]
428
    Davis 2018 Report, p. 54. [2.2] See also Email chain re: “Relaying the CEO’s opinions on touch
    method and call to a meeting,” SAMNDCA11374409-414 at ‘410. [20.15]
429
    Davis 2018 Report, p. 54. [2.2] See also Email chain re: “Relaying the CEO’s opinions on touch
    method and call to a meeting,” SAMNDCA11374409-414 at ‘410. [20.15]
430
    Apple v. Samsung Transcript of Proceedings, August 6, 2012, Volume 4, pp. 1014-1016; 1018-1019.
    [24.30]



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the email chain, it appears that the same email sender (DongHoon Chang) elaborates on the
three advantages of the C-Type in more detail, stating for the advantage relating to sleek
design: “Use of reinforced glass allows the sleek product appearance and realization of slim
dimensions.”431 I understand that Apple’s designs at issue do not cover use of reinforced glass,
and they do not cover the thickness of the phone (“slim dimensions”), so it appears that this
citation has nothing to do with the prominence of Apple’s designs at issue. Finally, an email
from 2008 from a single Samsung employee is not particularly probative of what consumers in
2011 and 2012 based purchasing decisions on.

       275.     Ms. Davis next cites a December 2008 study by GravityTank for two statements
– one about the iPhone being hailed for “its beauty and functionality,” and another noting that
Apple’s “Screen centric design has set the standard for touch” and had “come to equal what’s
on trend and cool for many consumers.”432 Again, Ms. Davis does not correlate “beauty” or
“cool[ness]” to the specific Apple designs at issue. Further, I understand that Apple does not
claim a monopoly on “screen-centric” designs, beauty or coolness.        Again, to the contrary, Mr.
Bressler testified that the hardware designs at issue are limited to specific components
designed in specific ways.433

       276.     Finally, Ms. Davis cites a presentation by The Boston Consulting Group, which
she summarizes as noting “‘Apple’s sleek and intuitive user interface has been a key driver of its
value proposition,’ including its ‘clean, beautiful interface’ and ‘clean menu screens.’”434 This
discussion is one point made in the “Software and content” section, which is one of five “secrets
behind [Apple’s] success” discussed in the presentation. Therefore, the mention of “clean menu
screens” in the document does not imply a significant effect on the prominence of the designs at
issue. In addition, Apple uses the D’305 in a different way (for its home screen) than Samsung
does (for its app screen, which needs to be accessed from the home screen before the D’305
image would be displayed). Therefore, the importance of the D’305 Patent to Apple and its
interface does not imply a similar importance to Samsung’s phones.



431
    Email chain re: “Relaying the CEO’s opinions on touch method and call to a meeting,”
    SAMNDCA11374409-414 at ‘412. [20.15]
432
    Davis 2018 Report, p. 54. [2.2] See also "Touch Portfolio Rollout Strategy Final Presentation,"
    Samsung, December 17, 2008, SAMNDCA00191811-987 at ‘830, ‘841. [21.7]
433
    Apple v. Samsung Transcript of Proceedings, August 6, 2012, Volume 4, pp. 1014-1016; 1018-1019.
    [24.30]
434
    Davis 2018 Report, p. 54. [2.2] See also "Lessons from Apple," The Boston Consulting Group,
    November 3, 2010, SAMNDCA00274819-854 at ‘831. [21.8]



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                   b)   Ms. Davis’s discussion of prominence of the patented design ignores
                        that there are acceptable design arounds available.

        277.     Ms. Davis’s discussion of the prominence of the patented design ignores that
Samsung had acceptable, noninfringing design arounds available to it.                 The availability of
acceptable design arounds implies that the design aspects covered by Apple’s design patents at
issue are not significant elements, and certainly diminishes the prominence of the patented
design in the product as a whole.

        278.     In terms of the availability of acceptable, noninfringing designs, Apple’s experts
have offered damages opinions based upon an assumption that Samsung could design around
the design patents in a way that would be acceptable to consumers. For example, Ms. Davis
continues to offer opinions based on a “cost value reference point” which is based on the
amount of time that it would take for Samsung to design out the infringing features and
designs.435 In her Exhibit 39.3-R, Ms. Davis lists design around times of a half month for the
D’305 Patent and 8 months for both the D’677 and D’087 Patents.436 Ms. Davis’s “cost value
reference point” reflects no reduction in profits after the design around periods she assumes,
implying that the design arounds would be acceptable to consumers. Further, when Apple’s
experts calculated lost profits for design patents in prior reports, they similarly assumed that it
would take 8 months to design around the D’677 Patent and the D’087 Patent, and then
Samsung would return to the market with an acceptable product to consumers.437 For the D’305
Patent, Apple’s experts did not even calculate lost profits, likely due to the short design around
period for that patent.438

        279.     Similarly, I have offered reasonable royalty opinions that are based upon the
understanding that Samsung could design around the design patents at issue in a way that
would be acceptable to consumers. For example, my discussion in Georgia-Pacific factor 9
explains the design alternatives available to Samsung. I incorporate that discussion in this
section by reference.



435
    Davis 2018 Report, p. 82. [2.2]
436
    Davis 2018 Report, Exhibit 39.3-R. [2.2]
437
    Expert Report of Terry L. Musika, CPA, March 22, 2012, p. 42, Exhibit 20. [12.9] See also Expert
    Report of Julie Davis, August 23, 2013, p. 49, Exhibit 20-PT. [20.6] Note: the D’087 Patent was not at
    issue in the Second Trial, so Ms. Davis did not include the design around time for the D’087 Patent in
    her Exhibit 20-PT.
438
    Expert Report of Terry L. Musika, CPA, March 22, 2012, Exhibit 20. [12.9] See also Expert Report of
    Julie Davis, June 24, 2013, Exhibit 20-PT.



                                                                                                       115
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       280.     With respect to the D’305 Patent, Dr. Susan Kare, Apple’s infringement expert for
the D’305 Patent in prior trials and its AOM expert for the D’305 Patent in this trial, has offered
testimony about the narrow design covered by the D’305 Patent.             For example, the D’305
                                             439
Patent clearly pictures rows of four icons.        Dr. Kare testified that Apple’s iPhone 3GS and
iPhone 4 provided the same overall impression as the D’305 and that she looked at the “overall
grid, the rows of four icons, the shape of the icons, the square with rounded corners, the mix of
icon styles from very symbolized to stylized to very detailed, […] the separate little icons at the
bottom and the light type reversed out.”440 Dr. Kare also testified about her opinion of the
similarity of the overall visual appearance of the D’305 patent to the Fascinate, again
mentioning the rows of four icons.441 Dr. Kare’s testimony supports that limiting the rows to
three icons would avoid infringement of the D’305 Patent.

       281.      In addition, I understand that Samsung could modify the icons to remove the
square “container” that surrounds the icons (as in the image for the Galaxy S II), which would
also design around the D’305 Patent.         In her testimony describing the D’305 Patent and
comparing the D’305 to the iPhone and the Fascinate, Dr. Kare testified that she considered a
“regular grid of icons that are square with rounded corners;” “the shape of the icons, the square
with rounded corners;” and “the colorful mix of icons that are square with rounded corners.”442
Dr. Kare later testified about why the presence of three small dots at the top of the screen did
not affect her conclusion: “And the grid and the shape and the way the icons fill the screen is
what you really notice primarily in the overall impression.”443 Finally, Dr. Kare testified about a
non-infringing screen image, that of the Blackberry Torch, and her reasons for finding it to
provide a noninfringing alternative as follows: “And in this screen, you can see that just by
having the batch of icons not on a consistent shape, it just – it looks different. You see more
background.”444 I have copied the image of the Blackberry Torch that Dr. Kare used in her trial
demonstratives in the figure below.




439
    U.S. Design Patent No. D604,305 S. [2.12] [20.6]
440
    Apple v. Samsung Transcript of Proceedings, Volume 5, August 7, 2012, pp. 1369-1370. [16.12]
441
    Apple v. Samsung Transcript of Proceedings, Volume 5, August 7, 2012, pp. 1374-1375. [16.12]
442
    Apple v. Samsung Transcript of Proceedings, Volume 5, August 7, 2012, pp. 1367, 1369-1370, 1374-
    1375. [16.12]
443
    Apple v. Samsung Transcript of Proceedings, Volume 5, August 7, 2012, p. 1381. [16.12]
444
    Apple v. Samsung Transcript of Proceedings, Volume 5, August 7, 2012, pp. 1404-1405. [16.12]



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Figure 23: Blackberry Torch Image Used by Dr. Kare as Non-Infringing Screen445




       282.     Apple never accused the four Galaxy S II phones (Galaxy S II (AT&T), Galaxy S
II (Epic 4G Touch), Galaxy S II (T-Mobile), and the Galaxy S II (Skyrocket)) of infringing the
D’305 Patent.446 Dr. Kare’s testimony supports that removing the “containers” surrounding the
icons, in a fashion similar to the GUI of the Galaxy S II products, would fully design around the
D’305 Patent, as demonstrated in the Figure below.




445
    PDX14 at PDX14A.30. [16.16] See also Apple v. Samsung Transcript of Proceedings, Volume 5,
    August 7, 2012, pp. 1404-1405. [16.12]
446
    Schedule 6.1-4T. [1.6]



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Figure 24: Comparison of Screens for Captivate (Found to Infringe the D’305 Patent) and the
           Galaxy S II (AT&T) and Galaxy S II (Epic 4G Touch) (Not Accused of Infringing the
           D’305 Patent)447




           Captivate                        Galaxy S II (AT&T)            Galaxy S II (Epic 4G Touch)


       283.     Based on this discussion, I understand that Samsung could change the number
of rows or columns on its GUI, or remove the square look of the icons, and that would design
around the D’305 Patent, indicating only a fairly narrow design at issue and therefore of little or
no prominence.

       284.     With respect to the D’677 Patent, testimony by Apple’s infringement expert
indicates at least three specific alternatives: change the top and bottom edges to be rounded,
use a white front face instead of black, or move the speaker slot to the top edge of the device.
As discussed below, I understand that any of these changes would avoid infringement of the
D’677 Patent.

       285.     Peter Bressler, Apple’s expert for the D’677 Patent, discussed the first of these
as an alternative, noninfringing design for the D’677 Patent.448 Mr. Bressler also distinguished
the Nokia Fingerprint phone from the D’677 Patent based on the distinctly rounded shape,
relative to the straight ends of the D’677’s rectangular shape:449


447
    Plaintiff's Exhibit No. 7: Accused Products, PX7.4, PX7.24, and PX7.30. [22.15]
448
    Reply Declaration of Peter W. Bressler in support of Apple’s Motion for a Preliminary Injunction,
    September 30, 2011, p. 19. [16.17]
449
    Declaration of Peter W. Bressler in Support of Apple’s Opposition to Samsung’s Motion for Summary
    Judgment, May 29, 2012, p. 12. [24.28]



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            As an initial matter, the disclosure of the Fingerprint phones is
            incomplete, because no full front view is unavailable [sic]. But even from
            the incomplete disclosure, distinctive visual differences are immediately
            apparent.

            In particular, the Fingerprint phone has a distinctly rounded overall shape.
            Its top and bottom ends are rounded and its shoulders are gently sloped.
            This visual impression stands in stark contrast to the straight ends of the
            D’677 design’s rectangular shape and its evenly curved corners. The
            Fingerprint phone is also significantly narrower in width in proportion to
            the D’677 design.

        286.     With respect to speaker placement, Mr. Bressler provided testimony at trial
suggesting that the movement of the speaker to the top edge of the device would serve to
distinguish a smartphone design from the D’677 Patent:450

            Q. I only have so much time with you, so we have to make sure we cover
            everything.

            On the JP 683 Patent, 26.87, could you please summarize for the jury the
            differences between this design and the '677 and '087 Patents?

            A. Yes. I believe the '638 Patent is substantially different from either of
            those two patents most dramatically because the front face is not flat,
            which creates an extraordinarily different overall impression.

            In addition to that, it is not drawn depicting a transparent face around the
            display, nor is it depicting black.

            There is a smaller speaker slot that is up at the very top edge, which is
            not certainly [sic] the same.

            And the frame around it is a tape perked enclosure that is thinner at the
            top and at the bottom than it is presenting wider where the display is
            protruding from the front.

        287.     With respect to color, as discussed in more detail above, Samsung contends that
the AOM to which the D’677 Patent was applied is the “black, round-cornered, glass front face
of each phone.”451 The black aspect of this AOM is corroborated by Peter Bressler, Apple’s
expert for the D’677 Patent, who identified phones using a non-black face as an alternative,
noninfringing design.452

450
    Apple v. Samsung Transcript of Proceedings, August 17, 2012, Volume 11, pp. 3597-3598. [16.18]
451
    Samsung’s Second Supplemental Objections and Responses to Plaintiff Apple Inc.’s First Set of
    Interrogatories Regarding Article of Manufacture, Response to Interrogatory No. 1, December 21,
    2017, p. 2. [21.5]
452
    Reply Declaration of Peter W. Bressler in support of Apple’s Motion for a Preliminary Injunction,
    September 30, 2011, pp. 19-21. [16.17]



                                                                                                        119
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       288.     Therefore, I understand that any of these three alternative designs would avoid
infringement of the D’677 Patent.

       289.     I have included below two figures that compare the Infuse 4G to other Samsung
phones (all of which are at issue in the 2018 Trial) that embody these design alternatives:

Figure 25: Design Alternatives for D’677 Patent – Rounded Top and Bottom




      Infuse 4G (JX1027)                Captivate (JX1011)               Epic 4G (JX1012)
   (Found to Infringe D’677)




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Figure 27: Samsung Galaxy S II in White455




       292.     The white Galaxy SII depicted in the Figure above was released on April 28,
2011, as confirmed by Mr. Bressler’s declaration.456

       293.     These design alternatives indicate that the design shown in the D’677 Patent has
little or no prominence, to consumers or otherwise.

       294.     Ms. Davis’s analysis ignores design alternatives and their implications about the
prominence of the Apple designs at issue, despite ample evidence (including her own
assumptions) that such design alternatives exist and would be acceptable to customers.


                  c)   Ms. Davis’s assertion that Samsung made a “conscious effort” to
                       adopt design elements included in the iPhone is not supported by the
                       documents she cites.

       295.     Ms. Davis notes that “Samsung’s adoption of Apple’s patented designs appears
to reflect a conscious effort to adopt technology and design elements included in the iPhone to
compete with the iPhone.”457 The technologies in Samsung’s phones are not a part of the Apple
designs at issue and, if anything, her statement undermines her conclusion regarding the
prominence of those designs. Moreover, not only does reference to design in general fail to
address the specific designs at issue, much of the evidence Ms. Davis cites tends to refute an

455
    T-Mobile, “Samsung Galaxy S II,” <http://www.t-
    mobile.co.uk/common/img/products/phones/samsung/galaxy-s-ii-
    white/galaxy_s_ii_white_SC_large_second.jpg>, accessed July 12, 2013. [16.7]
456
    Phone Arena, “Samsung Galaxy S II Spec,” <http://www.phonearena.com/phones/samsung-galaxy-s-
    ii_id5106>, accessed July 12, 2013. [16.8] This is also confirmed by an Exhibit submitted by Apple
    (Reply Declaration of Peter W. Bressler in Support of Apple's Motion for a Preliminary Injunction,
    September 30, 2011, Exhibit 56. [16.17])
457
    Davis 2018 Report, p. 55. [2.2]



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inference that Samsung made a “conscious effort” to adopt the patented designs at issue in the
2018 trial “to compete with the iPhone.”

        296.       For example, Ms. Davis cites to an email dated February 11, 2012 summarizing
an internal Samsung meeting attended by the head of Samsung’s Mobile Division, Mr. Shin, at
which she states he “pronounced a “‘crisis of design” at Samsung.’”458 However, a review of the
entire email shows that Mr. Shin expressed “confidence in our products H/W [i.e., hardware], in
their exterior design, and in their quality.”459 While the email indicates that Mr. Shin compared
the UX, or “user experience,” of the iPhone to a Samsung phone called the Omnia and was
critical of the Omnia UX,460 I understand that the Omnia used a Windows-based operating
system which has not been successful in the marketplace, and not the highly successful
Android operating system that Samsung started to use for most all of its smartphones,461
including the ones at issue in the 2018 Trial. Ms. Davis also claims that Mr. Shin stated,
Samsung needs to “make something like the iPhone.”462 That is not what the email says.
Rather, the email indicates that, in the context of talking about things he had heard from
carriers, Mr. Shin said, “I hear things like this: ‘Let’s make something like the iPhone.’”463 The
email does not state that Mr. Shin gave any direction to “make something like the iPhone.” To
the contrary, the email states Mr. Shin cautioned that “[a] company goes out of business
because of its own success factors” and that “Samsung’s success factors are diligence,
sincerity, and acting in an exemplary manner. The kind that says yes to whatever a carrier
wants. . . .”464

        297.       Ms. Davis next cites to an internal Samsung document titled “Relative Evaluation
Report on SI, iPhone,” which she describes as a “detailed 132-page feature-by-feature
comparison of Samsung’s proposed smartphone, then known as the S1, to Apple’s iPhone.”465
Ms. Davis claims that on page 122 of the document “Samsung recommended adopting an icon
layout design that looks more similar to Apple’s designs.”466 The “direction for improvement” on
page 122, however, is to “[e]ither change the colors of bordering rectangle frames according to

458
    Davis 2018 Report, p. 55, n. 202N, citing PX40. [2.2]
459
    Plaintiff's Exhibit No. 40, SAMNDCA10247373-378 at '377. [22.16]
460
    Plaintiff's Exhibit No. 40, SAMNDCA10247373-378 at '374. [22.16]
461
    Schedule 18.1-4T. [1.6]
462
    Davis 2018 Report, p. 55, n.202N. [2.2]
463
    Plaintiff's Exhibit No. 40, SAMNDCA10247373-378 at '374. [22.16]
464
    Plaintiff's Exhibit No. 40, SAMNDCA10247373-378 at '374. [22.16]
465
    Davis 2018 Report, p. 55, n. 202N, citing PX44. [2.2]
466
    Davis 2018 Report, p. 55, footnote 202N. [2.2]



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a consistent pattern for uniform feel, or remove the rectangular frame and use the icons only for
a clean and uniform feel,”467 neither of which, I understand, would make the icons look “more
similar” to the Apple icons. Furthermore, the “direction for improvement” on page 131 of the
document is to “Remove a feeling that iPhone’s menu icons are copied by differentiating
design.”468     If anything, this demonstrates a belief that sales would be improved by
differentiating the icons from the iPhone, something Samsung did with the Galaxy SII phones,
with little or no impact on sales.


                   d)   Ms. Davis’s discussion of market share is not tied to the specific
                        design features at issue and fails to consider other market
                        considerations.

        298.     Ms. Davis includes a simplistic analysis of Samsung’s market share in her
discussion of Factor 2, claiming that Samsung’s market share was declining significantly and
then began to increase after the infringing phones were released.                  Her discussion is as
        469
follows:

              Prior to the introduction of the infringing smartphones, Samsung’s market
              share was declining significantly as reflected in Exhibit 11.2-PT. After
              Samsung began selling the infringing smartphones, Samsung’s U.S.
              smartphone market share (as measured by independent sources) turned
              around in a dramatic way, growing from 5% to over 14% in a single
              quarter. Samsung’s infringing smartphones reflected approximately 90%
              percent of the gain achieved in this first quarter turn around, and reflected
              approximately 61% of Samsung’s smartphones sales overall from the
              beginning of the second quarter of 2010 through the end of the first
              quarter of 2012.

        299.     Ms. Davis’s analysis is contradicted by the data that she presents. For example,
Samsung’s market share was at its lowest in Q3 2009, and significantly increased by Q1 2010.
For example, Samsung’s unit share more than doubled from 2.4% unit share in Q3 2009 to a
5.7% unit share in Q1 2010, and Samsung’s revenue share tripled from a 1.7% revenue share
in Q3 2009 to a 5.2% revenue share in Q4 2010.470 Therefore, the increase in share discussed
by Ms. Davis started long before the release of the Galaxy S phones. Not coincidentally, the



467
    Plaintiff's Exhibit No. 44: Relative Evaluation Report on S1, iPhone, March 2, 2010,
    SAMNDCA00203880-4010 at '4001. [21.12]
468
    Plaintiff's Exhibit No. 44: Relative Evaluation Report on S1, iPhone, March 2, 2010,
    SAMNDCA00203880-4010 at '4010. [21.12]
469
    Davis 2018 Report, pp. 55-56. [2.2]
470
    Schedule 18-NT. [1.6]



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start of the increase occurred in Q4 2009, the first quarter in which Samsung sold smartphones
with the Android operating system,471 as I discuss in more detail below.

       300.     Further, the suggestion that Samsung’s market success is driven by the designs
at issue is certainly not supported by a more complete analysis of the market. I discuss below
several additional factors that Ms. Davis’s simplistic analysis glosses over.


                       (1) Samsung’s increase in market share has no apparent effect on
                           Apple’s sales and market share.

       301.     Ms. Davis states that “Samsung’s adoption of Apple’s patented designs on
Samsung’s infringing smartphones contributed to Samsung’s ability to compete against Apple in
the smartphone market and sell more smartphone products.”472                However, if Samsung
incorporated Apple’s design, and such incorporation of design was the reason for Samsung’s
success, it would be expected that Samsung’s gain would come at the expense of Apple. That
is far from the case. Even as Samsung’s share increased through the release of the original
Galaxy S phones and the second generation Galaxy S II phones, Apple’s sales continued to
steadily increase, and there is not any evidence that its share of the market has been impacted,
as the Figures below demonstrate.

       302.     Apple first released the original iPhone on June 29, 2007.473 Since that first
launch, Apple’s iPhone line of products has followed a relatively consistent release pattern, at
least for those devices released on AT&T’s network. Since the first launch, Apple has upgraded
the product on a yearly basis: the iPhone 3G, 3GS, and 4 were released on July 11, 2008, June
19, 2009, and June 24, 2010 respectively.474 The Verizon model of the iPhone 4 was first sold
on February 10, 2011, slightly more than seven months after the iPhone 4 was first released on
AT&T’s network.475 Apple then launched the iPhone 4S on October 14, 2011.476


471
    Schedule 18-NT and 18.1-4T. [1.6]
472
    Davis 2018 Report, p. 55. [2.2]
473
    Samra, Sandy, “The History of the iPhone,” Bright Hub, May 19, 2011,
    <http://www.brighthub.com/mobile/iphone/articles/82615.aspx>, accessed August 3, 2011. [21.13]
474
    Samra, Sandy, “The History of the iPhone,” Bright Hub, May 19, 2011,
    <http://www.brighthub.com/mobile/iphone/articles/82615.aspx>, accessed August 3, 2011. [21.13]
475
    “Verizon Wireless & Apple Team Up to Deliver iPhone 4 on Verizon,” Verizon Wireless, January 11,
    2011, < http://news.verizonwireless.com/news/2011/01/pr2011-01-11a.html>, accessed April 9, 2012.
    [21.14]
476
    “Apple Launches iPhone 4S, iOS 5 & iCloud,” Apple Press Info, Apple, October 4, 2011,
    <http://www.apple.com/pr/library/2011/10/04Apple-Launches-iPhone-4S-iOS-5-iCloud.html>, accessed
    October 10, 2011. [21.15]



                                                                                                 125
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       303.     With each new device (following the original release), the iPhone’s sales were
reinvigorated. As the Figure below shows, the underlying data of which was produced by Apple
and used by Ms. Davis in her market share analysis,477 Apple’s U.S. sales are boosted following
the release of each new iPhone. Further, as illustrated in the Figures below, historically Apple’s
sales have generally dropped shortly prior to a new release, increased significantly in the
quarter of the new release, and declined in the quarters subsequent to the release.

Figure 28: Apple US iPhone Sales by Quarter478




477
    Ms. Davis’s market share figure sources to “IDC Worldwide Quarterly Mobile Phone Tracker, Q1-
    2012.” (Davis 2018 Report, p. 56. [2.2])
478
    Schedule 18-NT. [1.6]



                                                                                                    126
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Figure 29: Apple US iPhone Sales by Quarter (with release of Galaxy S Date)479




          304.     The figures above show Apple’s U.S. iPhone sales by quarter from the release of
the first iPhone through Q4 2011. Apple’s iPhone sales enjoyed a relatively steady climb from
introduction through Q1 2011. After a short lull, during which no new iPhone iterations were
released, Apple’s smartphone sales skyrocketed to approximately fifteen million units in the
fourth quarter of 2011, the quarter during which the iPhone 4S launched. As shown in the
figure, this more than doubled the previous record of around seven million units during Q1 2011
with the launch of the Verizon iPhone 4.




479
      Schedule 18-NT. [1.6]



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Figure 30: Smartphone Average Selling Prices in the U.S., Q2 2007 Through Q4 2011480




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      Schedule 18-NT. [1.6]



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Figure 31: Smartphone Average Selling Prices in the U.S., Q2 2007 Through Q4 2011 (with Release
           of Galaxy S Date)481




          305.     The above figures show Apple’s iPhone ASP alongside Samsung’s smartphone
ASP from Q2 2007 through Q4 2011. As illustrated, Apple has maintained a consistent and
sizeable premium over Samsung. In other words, Apple would be hard pressed to argue that its
smartphone offering has suffered any price erosion at the hand of Samsung’s products. In fact,
Apple’s ASP has consistently increased since Q3 2009.

          306.     The limited impact of Samsung’s smartphone sales on Apple can be seen when
comparing market shares over time. As Figure 32 demonstrates, Apple increased its market
share above 20 percent following the release of the iPhone 3G in July 2008 and has largely
remained in the 20 percent to 30 percent market share range ever since.              Notably, Apple
remained in this market share range for a full two years prior to Samsung’s introduction of the
Galaxy S in July 2010, and also in the five quarters following the release of the Galaxy S. In the


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      Schedule 18-NT. [1.6]



                                                                                               129
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last quarter of 2011, Apple released the iPhone 4S and its market share jumped to about 45
percent.

Figure 32: Smartphone Unit Share in the U.S., Q2 2007 Through Q4 2011482




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                                                                                          130
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Figure 33: Smartphone Unit Share in the U.S., Q2 2007 Through Q4 2011 (with Release of Galaxy S
           Date)483




          307.     As pictured in the above figure, Apple has consistently maintained a high
proportion of smartphone revenue share since Q2 2007. While Samsung’s revenue share has
also increased, Apple’s share jumped to nearly 60% during Q4 2011, the quarter in which the
iPhone 4S was released.

          308.     Further, in Q3 2010, the quarter in which Ms. Davis comments that Samsung’s
market share “turned around in a dramatic way, growing from 5% to over 15% in a single
quarter,” Apple’s market share also increased in that quarter. This growth by Apple in the same
quarter that Ms. Davis focuses on for the effect of Samsung’s “adoption of Apple’s patented
designs” contradicts Ms. Davis’s assertion that the “adoption of Apple’s patented designs” drove
sales. As I explained above, if the growth was due to the patented designs and the release of
products that looked like Apple’s phones, one would expect Samsung’s growth to come at the


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      Schedule 18-NT. [1.6]



                                                                                            131
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expense of Apple. That was not the case in Q3 2010, or any other quarter in the periods that
Ms. Davis and I analyzed.

       309.     The success of the iPhone and limited impact of Samsung on Apple’s iPhone
sales is further demonstrated by Apple’s share of metrics that manufacturers value the most:
revenue and profit.

       310.     When measured in revenue, Apple’s share of smartphone sales is higher than its
unit share due to the consistent price margin that Apple has maintained over its smartphone
competitors such as Samsung, as illustrated in Figure 30. Following the release of the iPhone
3G in July 2008, Apple’s share of smartphone revenue remained in a range of about 25 to 40
percent until the release of the iPhone 4S. The observed increases and decreases in market
share on a revenue basis follow the pattern of Apple sales described above with dips prior to the
launch of a new iPhone model, followed by a spike at launch, and then a subsequent decline –
accounting for movement within a range. Similar to its unit share, Apple remained in this range
for a full two years ahead of the release of the Galaxy S in June 2010 and has remained in the
same range following the release of the Galaxy S. In Q4 2011, Apple’s share of smartphone
revenue increased to nearly 60 percent, while Samsung’s market share dipped on a revenue
basis to just over 16 percent.




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Figure 34: Smartphone Revenue Share in the U.S., Q2 2007 Through Q4 2011484




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Figure 35: Smartphone Revenue Share in the U.S., Q2 2007 Through Q4 2011(with Release of
           Galaxy S Date)485




           311.     Very similar to the unit share figure, the figure above shows that Apple has
maintained its share of smartphone revenue sales over time. Apple’s revenue sales set records
in Q4 2011 with the release of the iPhone 4S, and Apple’s revenue share also increased in Q3
2010.

           312.     Apple additionally has increased its share under another market metric –profits.
As the Strategy Analytics data486 in Figure 36 illustrate, Apple has consistently increased its
share of handset industry profits. Strategy Analytics estimates that as of the first quarter of




485
      Schedule 18-NT. [1.6]
486
      IDC’s data does not include data on manufacturer profit for smartphones. Strategy Analytics produces
      a report that estimates operating profits by manufacturer for handset manufacturers on a worldwide
      basis. Although it would be preferable to rely on a data source limited to the U.S. sales of
      smartphones, the Strategy Analytics report is the most consistent provider of profit data that I have
      reviewed.



                                                                                                       134
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2011, 53.4 percent of handset industry profit belonged to Apple’s iPhone, rising to 75 percent of
total industry profits in Q4 2011.487

Figure 36: Apple’s Share of Realized Handset Industry Profits Worldwide Q1 2008 Through Q4
           2011488




487
    Schedule 18-NT. [1.6] Another source confirms Apple’s nearly 75 percent profit share in Q4 2011.
    (Dediu, Horace, “First: Apple’s rank in mobile phone profitability and revenues,” Asymco, February 3,
    2012, <http://www.asymco.com/2012/02/03/first-apples-rank-in-mobile-phone-profitability-and-
    revenues/>. [21.16])
488
    Schedule 18-NT. [1.6]



                                                                                                       135
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Figure 37: Apple’s Share of Realized Handset Industry Profits Worldwide Q1 2008 Through Q4
           2011 (with Release of Galaxy S Date)489




          313.     The figure above shows Apple’s share of realized worldwide handset profits.
This figure depicts not only the consistent growth of Apple’s share of industry profits, but also its
profit earning power. In the most recent quarter depicted, again Q4 2011 during which the
iPhone 4S was released, Apple earned 75% of handset industry profits worldwide.

          314.     The consistent trend of Apple’s market share in the face of competition by
Samsung and other handset manufacturers, as well as the success of the iPhone 4S, indicates
that Samsung’s sales of smartphones did not have a significant effect on Apple. Further, Ms.
Davis’s analysis of Samsung’s share does not provide support that Samsung’s success was tied
to Apple’s patented designs.


                          (2) Ms. Davis’s analysis does not consider the effect of the Android
                              operating system.
489
      Schedule 18-NT. [1.6]



                                                                                                 136
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        315.     Ms. Davis’s analysis of market share fails to consider the effect of the
introduction of the Android operating system on the market. As I describe in this section and
elsewhere in the report, a smartphone’s operating system is a top purchase consideration. And,
as I demonstrate below, Samsung’s growth in the market is part of the overall Android growth,
along with other handset manufacturers that have adopted the Android operating system.


                            (a) A smartphone’s operating system is a top purchase consideration

        316.     The smartphone purchasing decision often comes down to a choice between the
open source Android operating system, which runs on a multitude of handsets, and Apple’s
proprietary iOS, which runs exclusively on Apple’s products.                  As a comprehensive
Computerworld OS comparison article pointed out, “[i]f you’re in the market for a new
smartphone, choosing which one to buy has as much to do with the operating system that runs
the phone as with the hardware itself.”490 According to the same article, the three top platforms
are iOS, Android, and Microsoft’s Windows Phone 7.491 Ultimately, the author concludes, “any
one of these platforms will serve you well,”492 each catering to the preference of a certain
audience. For the Android OS, the article notes that: “[f]or its features, customization options
and openness, Android has no peer.”493

        317.     A February 2012 article notes that smartphone OS competition was down to iOS
and Android, with other platforms, such as Blackberry and Windows Phone, thought to be vying
for third place.494

490
    Gralla, Preston, “Smartphone OS shootout: Android vs. iOS vs. Windows Phone,” Computerworld,
    March 17, 2011,
    <http://www.computerworld.com/s/article/9214206/Smartphone_OS_shootout_Android_vs._iOS_vs._
    Windows_Phone_?taxonomyName=Mobile+and+Wireless&taxonomyuId=15>. [21.17]
491
    Gralla, Preston, “Smartphone OS shootout: Android vs. iOS vs. Windows Phone,” Computerworld,
    March 17, 2011,
    <http://www.computerworld.com/s/article/9214206/Smartphone_OS_shootout_Android_vs._iOS_vs._
    Windows_Phone_?taxonomyName=Mobile+and+Wireless&taxonomyuId=15>. [21.17]
492
    Gralla, Preston, “Smartphone OS shootout: Android vs. iOS vs. Windows Phone,” Computerworld,
    March 17, 2011,
    <http://www.computerworld.com/s/article/9214206/Smartphone_OS_shootout_Android_vs._iOS_vs._
    Windows_Phone_?taxonomyName=Mobile+and+Wireless&taxonomyuId=15>. [21.17]
493
    Gralla, Preston, “Smartphone OS shootout: Android vs. iOS vs. Windows Phone,” Computerworld,
    March 17, 2011,
    <http://www.computerworld.com/s/article/9214206/Smartphone_OS_shootout_Android_vs._iOS_vs._
    Windows_Phone_?taxonomyName=Mobile+and+Wireless&taxonomyuId=15>. [21.17]
494
    Lunden, Ingrid, “Nielsen: As U.S. Nears Smartphone Majority, It’s A Two-Horse Race Between
    Android and Apple’s iOS,” March 29, 2012, http://techcrunch.com/2012/03/29/nielsen-as-u-s-nears-
    smartphone-majority-its-a-two-horse-race-between-android-and-apples-ios/, accessed April 22, 2012.
    [21.18]



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           318.     In a Business Insider survey that received over 2,000 responses from Android
and iOS smartphone users, approximately 38 percent of respondents indicated that “Platform”
was the most important factor and another 50 percent replied that “Platform” was one of the
“other” factors considered in choosing a smartphone:

Figure 38: Business Insider Survey Results – Most Important Factor495




495
      Blodget, Henry and Leah Goldman, “The Truth About Smartphones: Our Exclusive Survey on iPhone
      vs. Android,” Business Insider, April 18, 2011, Figure 8, <http://www.businessinsider.com/smartphone-
      survey-results-2011-4#most-smartphone-buyers-say-platform-and-features-are-the-most-important-
      factors-that-make-them-buy-a-particular-smartphone-8> and
      http://www.businessinsider.com/smartphone-survey-results-2011-4#other-factors-that-matter-include-
      features-platform-app-selection-price-ease-of-migrating-data-from-ones-current-platform-and-
      availability-at-ones-mobile-carrier-9, accessed April 21, 2012. [21.19]



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Figure 39: Business Insider Survey Results – Other Factors496




        319.     One explanation for consumers’ preference for Android is that Android operators
and manufacturers have spent significant advertising dollars on Android, which serves to
elevate the importance of the Android platform to smartphone consumers. For example, an
Apple presentation titled “Android Market Overview” and dated Q4 2010 notes that Android
operators and handset manufacturers had a “[n]early 9 to 1 Spend Ratio over iPhone
Advertising.”497

        320.     This level of advertising for the platform, along with the Google brand
association, helps to create a branded platform that can compete with Apple’s platform. The
resulting preference for the Android platform means that many of the customers that select an

496
    Blodget, Henry and Leah Goldman, “The Truth About Smartphones: Our Exclusive Survey on iPhone
    vs. Android,” Business Insider, April 18, 2011, Figure 9, <http://www.businessinsider.com/smartphone-
    survey-results-2011-4#most-smartphone-buyers-say-platform-and-features-are-the-most-important-
    factors-that-make-them-buy-a-particular-smartphone-8> and
    http://www.businessinsider.com/smartphone-survey-results-2011-4#other-factors-that-matter-include-
    features-platform-app-selection-price-ease-of-migrating-data-from-ones-current-platform-and-
    availability-at-ones-mobile-carrier-9, accessed April 21, 2012. [21.19]
497
    “Android Market Overview,” Apple Market Research & Analysis, CY10-Q4, APLNDC00004618-736 at
    ‘626. [23.1]



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Android phone (such as the Samsung phones at issue) would not consider a smartphone with a
different operating system (such as the iPhone).


                           (b) Samsung’s growth is a part of Android’s overall growth

       321.     Ms. Davis’s discussion focuses on the impact of Samsung on Apple’s sales, but
ignores that a number of other manufacturers of phones running Android OS have experienced
substantial growth in market share over the same period. As shown in Figure 40 (created using
the same data relied upon by Ms. Davis498), Android’s market share has risen over time. In fact,
Android’s market share surpassed that of iOS in Q4 2009, more than 6 months before Samsung
introduced the Galaxy S.

Figure 40: Share of Smartphone Unit Sales by OS – iOS and Android, 2008 - 2011499




       322.     A similar picture emerges when viewed in terms of revenue share:


498
    Ms. Davis’s market share figure sources to “IDC Worldwide Quarterly Mobile Phone Tracker, Q1-2012.”
    (Davis 2018 Report, p. 56. [2.2])
499
    Schedule 18.8-4T. [1.6]



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Figure 41: Share of Smartphone Revenue by OS – iOS and Android, 2008 - 2011500




        323.     As seen in Figure 40 and Figure 41, sales of Android smartphones took off in the
year preceding the release of the Galaxy S. Prior to 2011, the only mobile phone carrier to sell
the iPhone was AT&T through an exclusive contract with Apple.501                   Thus, subscribers of
Verizon, Sprint or T-Mobile (three of the four major U.S. carriers) were unable to get an iPhone
for use on those carriers during that time.502 Apple’s exclusive deal with AT&T meant that it was
only able to address a portion of the U.S. mobile phone subscriber base – just above 26 percent




500
    Schedule 18.7-4T. [1.6]
501
    Smith, Chris, “Sprint to offer Apple's iPhone 5 alongside AT&T, Verizon – report,” AppleInsider, August
    23, 2011,
    <http://www.appleinsider.com/articles/11/08/23/apple_to_launch_iphone_5_simultaneously_with_att_v
    erizon_and_sprint.html>. [23.2]
502
    Smith, Chris, “Sprint to offer Apple's iPhone 5 alongside AT&T, Verizon – report,” AppleInsider, August
    23, 2011,
    <http://www.appleinsider.com/articles/11/08/23/apple_to_launch_iphone_5_simultaneously_with_att_v
    erizon_and_sprint.html>. [23.2]



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as of the end of 2010 according to one source.503 Verizon, Sprint and T-Mobile, carriers that I
understand have introduced Android smartphones, covered approximately 55 percent of the
U.S. mobile phone subscriber base as of the end of 2010 according to the same source.504
Apple recognized this issue in a presentation titled “Android Market Overview” dated Q4 2010
that lists several “Key Conclusions,” one of which is that “Android growth accelerated in 2H of
2010.”    The first sub-bullet under this conclusion indicates that Android is “[g]aining share
through expansion to non-iPhone carriers.”505 It is not surprising that smartphones using the
Android operating system were able to gain acceptance and market share despite Apple’s
iPhone (using iOS) being in the market longer – most smartphone buyers did not have the
option of purchasing an iPhone on carriers from 2008 through the end of 2010.

         324.     Adding BlackBerry (formerly Research in Motion, or RIM) into the Figures above
demonstrates that Android’s growth came at the expense of BlackBerry, not Apple.




503
    Malik, Om, “What AT&T and T-Mobile Merger Means for Innovation,” GigaOM, March 21, 2011, <
    http://gigaom.com/2011/03/21/what-att-and-t-mobile-merger-means-for-innovation/>. [23.3]
504
    Malik, Om, “What AT&T and T-Mobile Merger Means for Innovation,” GigaOM, March 21, 2011, <
    http://gigaom.com/2011/03/21/what-att-and-t-mobile-merger-means-for-innovation/>. [23.3]
505
    “Android Market Overview,” Apple Market Research & Analysis, CY10-Q4, APLNDC00004618-736 at
    ‘626. [23.1]



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Figure 42: Share of Smartphone Unit Sales by OS – iOS, Android, and BlackBerry OS, 2008 -
           2011506




506
      Schedule 18.8-4T. [1.6]



                                                                                           143
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Figure 43: Share of Smartphone Revenue by OS – iOS and Android, 2008 - 2011507




        325.     Based on the IDC data relied upon by Ms. Davis and me, Samsung first sold
Android smartphones in Q4 2009,508 which is the quarter in which Samsung’s sales start to
increase from its lowest point.509 As shown in Figure 44 below, Samsung’s growth after Q3
2009 can be directly linked to sales of smartphones with the Android operating system.




507
    Schedule 18.7-4T. [1.6]
508
    Schedule 18.1-4T. [1.6]
509
    Schedule 18-NT. [1.6]



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Figure 44: Samsung’s Unit Share by Operating System, 2008 - 2011510




           326.     Other Android manufacturers also benefitted from the rise of the Android
operating system, including HTC, LG Electronics, and Huawei Technologies. Each of these
businesses markedly increased its presence in the 2008 to 2011 period, making the
marketplace for smartphones all the more competitive.                  The growth of these other
manufacturers follows a similar pattern to the growth by Samsung that Ms. Davis attributes to
“adoption of Apple’s design patents.” U.S. Market share data from IDC for Samsung and these
three companies is shown in Figure 45. I note that these companies enjoyed a similar increase
in market share to Samsung over the time period analyzed by Ms. Davis, providing further
evidence of the importance of the Android platform.




510
      Schedule 18.1-4T. [1.6]



                                                                                             145
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Figure 45: Share of Smartphone Units – HTC, LG, Huawei, and Samsung, 2008 - 2011511




           327.     Ms. Davis’s analysis disregards the effect of the Android operating system in her
analysis, which leads her to draw an inappropriate conclusion with respect to the significance of
Apple’s patented designs.


                           (3) Ms. Davis’s statistics cited in her market share discussion are
                               misleading and overstated.

           328.     In her discussion of market share, Ms. Davis includes the following statement:
“Samsung’s infringing smartphones reflected approximately 90% percent of the gain achieved in
this first quarter turn around, and reflected approximately 61% of Samsung’s smartphones sales
overall from the beginning of the second quarter of 2010 through the end of the first quarter of




511
      Schedule 18.3-4T. [1.6]



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2012.”512 Ms. Davis cites to footnote 202R, which does not include any sources or back-up for
her calculations, nor does it explicitly state what data she is using for her percentages.513

        329.      I have attempted to replicate her numbers, and I believe I understand that the
calculations she performs to arrive at her percentages. As I discuss below, the percentages she
presents are misleading for several reasons.

        330.      First, in her first calculation, Ms. Davis only looks at the infringing sales as a
percentage of the growth in Samsung’s sales.514 This is necessarily larger than just looking at
the percentage of all Samsung sales. Given that as new products are released, older products
are not promoted as heavily or no longer sold, it does not make sense and is unreliable in
methodology to do a comparison limiting only to the growth in sales.

        331.      Second, in her calculation of the numerator for both of her calculations, Ms.
Davis appears to use units for all of the products found to infringe, regardless of whether the
product was found to infringe a design patent or not. Given she does not source her number, it
is impossible to tell exactly what she is calculating. However, it appears that she must be using
products that were found to infringe utility patents and not design patents.

        332.      For example, Ms. Davis states that “[b]etween Q2 2010 and Q1 2012, Samsung
sold
          515
                 I calculate the total units for all the products found to infringe design patents in
Schedule 20.1-4T at Volume 1, Tab 6 of my report; for the period May 2010 through March
2012, Samsung (STA) sold                       units that were found to infringe a design patent. It
appears that Ms. Davis’s calculation of                    units includes products that were not found
                               516
to infringe a design patent.         Given that her section is attempting to address the importance of

512
    Davis 2018 Report, p. 56. [2.2]
513
    Davis 2018 Report, p. 56, footnote 202R. [2.2]
514
    In her footnote 202R, Ms. Davis uses a denominator calculated based on the difference between
    Samsung’s Q3 2010 sales                         and Samsung’s Q2 2010 Sales                    . (Davis
    2018 Report, p. 56, footnote 202R. [2.2] See also Schedule 18.6-4T. [1.6])
515
    Davis 2018 Report, p. 56, footnote 202R. [2.2]
516
    Although she rounds to the nearest thousand units, it appears that Ms. Davis’s Exhibit 37.1-R2
    confirms that she is including all infringing phones (including phone that were not found to infringe any
    design patents). Using page 4 of Ms. Davis’s Exhibit 37.1-R2, I subtracted the total infringing
    smartphone units for Q2 2012 from total infringing smartphone units for Q2 2010 through Q2 2012,
    which appears to be the number Ms. Davis is using:                                          . These units
    report both infringing smartphones (she says 18 Products, which includes two products with no sales)
    and also the Exhibit 4G, Galaxy Ace, Galaxy Prevail, Nexus S 4G, Replenish, and Transform. (Davis
    2018 Report, Exhibit 37.1-R2, Page 4 of 4. [2.2]) Ms. Davis could have used page 2 of her Exhibit to



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Apple’s design patents to the infringing product sales, it is misleading to use units from products
that were found to infringe a utility patent but not a design patent in the calculation. If she had
used only the units of products found to infringe design patents, her percentage would be
significantly lower.

           333.     Finally, Ms. Davis’s analysis blends together all three design patents, and
includes units if a product infringes any of the three design patents.                     Given that she is
attempting to address the importance of each design patent, blending together the design
patents is misleading, resulting in an overstated percentage. For example, I have calculated
totals for products found to infringe the D’305 Patent, the D’677 Patent, and the D’087 Patent in
Schedules 20.2-4T, 20.3-4T, and 20.4-4T at Volume 1, Tab 6 of my report. For the D’677
Patent, over the period that Ms. Davis calculates her percentage (Q2 2010 through Q1 2012),
Samsung sold                    units of products found to infringe the D’677 Patent.517 Comparing this
number to the total Samsung sales of                              units reported by Ms. Davis over this
          518
period,         products found to infringe the D’677 Patent represent only                of the units sold by
                                                           519
Samsung in the period analyzed by Ms. Davis.                     Therefore, more than           of Samsung’s
sales were products not found to infringe the D’677 Patent.

           334.     The D’087 Patent is an even smaller portion of the sales. Over the period that
Ms. Davis calculates her percentage (Q2 2010 through Q1 2012), Samsung sold
units of products found to infringe the D’087 Patent.520 Comparing this number to the total
Samsung sales of                      units reported by Ms. Davis over this period,521 products found to
infringe the D’087 Patent represent only                  of the units sold by Samsung in this period.522
Therefore, more than               of Samsung’s sales were products not found to infringe the D’087
Patent.

           335.     While the sales of products found to infringe the D’035 Patent represent a higher
proportion of Samsung’s sales in the early quarters of Ms. Davis’s period, Samsung removed


      calculate the units for just the 16 products at issue in the 2018 trial (or 18 products if you include the
      two products with no sales), e.g. the products that were found to infringe a design patent (two of which
      had no sales), and she would have calculated a number the same as mine when rounded:
517
    Schedule 20.3-4T. [1.6]
518
    Davis Report, p. 56. [2.2]
519
    8,761,619 / 29,456,757 = 29.7%.
520
    Schedule 20.4-4T. [1.6]
521
    Davis Report, p. 56. [2.2]
522
    2,350,423 / 29,456,757 = 8.0%.



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the infringing design in later quarters with little or no impact on sales. For example, the Galaxy
S II products launched in September and October 2011 were never accused of infringing the
D’305 Patent.523 In the last two quarters of Ms. Davis’s analysis (the quarters during which the
Galaxy S II phones were sold), Samsung’s sales of phones found to infringe the D’305 Patent
represented only           of Samsung’s total sales in Q4 2011 and         in Q1 2012.524 Further,
as summarized in Schedule 18.3-4T at Volume 1, Tab 6 of my report, Samsung’s unit share
                                         indicating that the absence of the design found to infringe
the D’305 Patent had little or no impact on sales.


                        (4) Conclusion with respect to Ms. Davis’s market share analysis

        336.     Based on these comparisons, it is clear that Ms. Davis’s conclusion based on her
simplistic analysis focusing only on Samsung’s market share is contradicted by a more
complete analysis of market trends. Further, Ms. Davis’s analysis doesn’t demonstrate that
Samsung’s infringement of the design patents at issue drove Samsung’s sales.


                   e)   Ms. Davis’s focus on the fact that Apple and Samsung market and sell
                        a fully assembled product does not address Factors 3 and 4.

        337.     Ms. Davis’s discussion of Factor 3 (“Whether the design is conceptually distinct
from the product as a whole.”) and Factor 4 (“The physical relationship between the patented
design and the rest of the product, including whether the design pertains to a component that a
user or seller can physically separate from the product as a whole, and whether the design is
embodied in a component that is manufactured separately from the rest of the product, or if the
component can be sold separately”) first cites back to her discussion of Factor 2, which I have
addressed above.525

        338.     Ms. Davis proceeds to discuss evidence from the “business models, accounting
activity, and marketing conduct of Apple and Samsung” that she contends supports the
conclusions of Apple’s AOM experts.526 The evidence cited by Ms. Davis can be generally
summarized as Ms. Davis pointing out that Apple and Samsung generally sell smartphones
rather than component parts. However, she does not properly explain how the evidence she


523
    Schedules 6.1-4T and 6.3-NT. [1.6]
524
    Q4 2011:                              Q1 2012:                            (Schedule 20.2-4T
    and 18.6-4T. [1.6])
525
    Davis 2018 Report, p. 57. [2.2]
526
    Davis 2018 Report, p. 57. [2.2]



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discusses at length has a significant influence on the identification of the AOM. Further, Ms.
Davis’s analysis focuses exclusively on Apple and Samsung, and not on other parties involved
in the manufacture and sale of components related to the patented designs.

           339.     For example, Factor 3 asks whether the design is conceptually distinct from the
product as a whole. I understand that Dr. Lucente addresses this Factor in detail, and I do not
respond at length to Ms. Davis’s discussion. I note that it is not clear why the go-to-market
strategy of Apple and Samsung affects this inquiry. I understand that both Apple and Samsung
are involved in the design of the window glass, but the manufacturing and sale of the window
glass is done by a third party. Tony Blevins of Apple testified that Dow Corning has supplied
cover glass to Apple for the first iPhone, the iPhone 3G, the iPhone 3GS, the iPhone 4, and the
iPhone 4S.527 Dow Corning likely tracks revenue and profitability of the cover glass it sells to
Apple and other handset manufacturers. Similarly, Mr. Blevins testified that Hon Hai Precision
(also known as Foxconn) and, in later generations, Catcher Technologies manufactured the
bezel for the iPhone, iPhone 3G, and iPhone 3GS.528 These third parties would also likely track
the revenue and profitability of the bezel they sell to Apple.

           340.     For Factor 4, there are several specific prongs to the inquiry after “including:”

               •    whether the design pertains to a component that a user or seller can
                    physically separate from the product as a whole;
               •    whether the design is embodied in a component that is manufactured
                    separately from the rest of the product; or
               •    if the component can be sold separately.

           341.     Ms. Davis’s discussion doesn’t appear to directly address any of these elements.
For example, Ms. Davis does not appear to address the first two prongs – whether the design
pertains to a component that a user or seller can physically separate from the product as a
whole and whether the design is embodied in a component that is manufactured separately
from the rest of the product.

           342.     With respect to the last prong, Ms. Davis focuses on the fact that STA generally
doesn’t sell window glass to its end customers. However, this element is not about the standard
practice of STA, but if the component can be sold separately. Dongwook Kim testified about
sales of the window glass and the display module to SEA, explaining that the display module is

527
      Deposition of Tony Blevins, December 17, 2017, pp. 26-27. [23.4]
528
      Deposition of Tony Blevins, December 17, 2017, pp. 86-89. [23.4]



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ordered by SEA from the manufacturing legal entities, and the window glass is ordered from a
mobile communications customer service organization within SEC.529 Mr. Kim also testified
about a spreadsheet that reflects window glass purchases by SEA.530 Samsung produced a
spreadsheet that lists the components that make up the AOMs, and identifies the supplier of
each component.531 Sales from the suppliers to Samsung are sales of the components related
to the AOM.

        343.      Further, Timothy Sheppard testified about a service offered by STA to the major
carriers in which STA would replace damaged glass on a display module:532

            Q The item that's in there for the box D710, the Sprint Galaxy S II Epic 4G
            Touch, did you ever sell that -- STA, did it ever sell it to consumers? Apart
            from this reclamation process, did it ever sell it to consumers?

            A To the best of my knowledge, no screens were sold direct to
            consumers, but we did sell the service to the carriers, to the main carriers
            like Sprint, T-Mobile, AT&T.

            Q The service being we'll repair phones, correct?

            A No. The service being that we'll specifically replace the damaged
            screen -- or the damaged glass on your screen as a separate service
            from repair to a phone.

            Q And the "we" is STA, correct?

            A And the "we" is STA.

            […]

            Q Okay. Let me just ask it using carriers as the purchaser. Did you ever
            sell the object that is in that box to carriers for the i500?

            A So the same answer as last time. So they could have purchased the
            service of having this replaced, but we did not sell the individual
            component to them. So they had to buy the service and they would get


529
    Deposition of Dongwook Kim, December 22, 2017, pp. 80-82. [23.5]
530
    Deposition of Dongwook Kim, December 22, 2017, pp. 73-78, 84-85. [23.5]
531
    SAMNDCA30000055_HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY.xls. See also Deposition
    of Dongwook Kim, December 22, 2017, pp. 80-81. [23.5] See also Samsung’s Second Supplemental
    Objections and Responses to Plaintiff Apple Inc.’s First Set of Interrogatories Regarding Articles of
    Manufacture, Response to Interrogatory Nos. 1-3, December 21, 2017, pp. 16, 19, 34, 37, 54, 57.
    [21.5] See also Samsung’s Supplemental Responses and Objections to Plaintiff Apple Inc.’s Second
    Set of Interrogatories Regarding Article of Manufacture, Response to Interrogatory Nos. 10-12,
    December 21, 2017, pp. 5-7. [24.27]
532
    Deposition of Timothy Sheppard, December 14, 2017, pp. 55-56, 58. [23.6]



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           this individual component as a replacement screen rather than buying a
           whole new screen.

           So if I compare it to this, buying this whole thing, this is expensive,
           compared to just replacing the glass if you have a perfectly good working
           panel. So we would sell the service of the glass replacement and they
           would use – we would use the preexisting panel and greatly reduce the
           cost for everybody on the repairs.

       344.     I spoke with Mr. Sheppard, and he confirmed that a service like the service he
described in his deposition was offered to each of the major carriers, including Sprint, AT&T,
Verizon, T-Mobile, and US Cellular.533

       345.     In addition, I toured the manufacturing plant in Gumi, South Korea on January
17, 2018. I watched the manufacturing process on the second floor of Building C that was
producing Galaxy Note 8 smartphones. I saw the window glass and display panel being
connected to the back panel with robots. The rear assembly started with screws and then was
pushed together after glue was applied. Then there was a series of function tests performed.
The final packaging was separated from the assembly where the accessories were included in
the final packaging. These accessories were purchased from a separate supplier.534

       346.     The manufacturing process that I witnessed this month is more automated than
the manufacturing process used to manufacture the accused smartphones. There have been
more functional tests added including a water test and a battery leakage test. Some of the
functional tests were previously done manually. Also the final packaging was not separated
from assembly. The number of accessories that I saw added to the final packaging is the same
as when the accused smartphones were manufactured.535

       347.     The window glass and display panel are manufactured separately in Vietnam.536
The window glass is purchased from a company in China.537


                       (1) Ms. Davis’s comment that past trials did not include a separate
                           calculation for an AOM other than the entire phone is irrelevant.




533
    Conversation with Timothy Sheppard, January 27, 2018.
534
    Conversation with Si-Yeon Park on January 17, 2018.
535
    Conversation with In-Kyu Park on January 17, 2018.
536
    Conversation with Si-Yeon Park on January 17, 2018.
537
   Conversation with Dong-Wook Kim on January 18, 2018.



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           348.     In her discussion of Factors 3 and 4, Ms. Davis includes the following
statement:538

              In the November 2013 Trial at which I testified and in connection with the
              damages expert reports of Michael Wagner, Samsung did not present a
              separate calculation for an article of manufacture other than the
              smartphone as a whole. Both Apple’s and Samsung’s prior summary of
              Apple’s damages based on Samsung’s profits used only the smartphones
              as a whole as the basis for the calculation.

           349.     In her first paragraph after this section, Ms. Davis includes a similar statement:
“[a]s discussed above, I have proceeded based on the conclusion that the article of manufacture
is Samsung’s smartphones as a whole. This conclusion is consistent with how Mr. Musika
addressed the issue in 2012, how Mr. Wagner addressed the issue in 2012, 2013, and
2015/2016, and how I addressed the issue in 2013 and 2015/2016.”539

           350.     Ms. Davis’s statements about past trials and analyses presented are not relevant
to the identification of the Article of Manufacture. My understanding of the reason for the 2018
Trial is due to a change in the law relating to section 289 and the Article of Manufacture. I
understand that after the previous trials in this case, Samsung appealed certain issues to the
United States Supreme Court. The Supreme Court issued an opinion in this case, stating in
part:540

              This case involves the infringement of designs for smartphones. The
              United States Court of Appeals for the Federal Circuit identified the entire
              smartphone as the only permissible ‘article of manufacture’ for the
              purpose of calculating § 289 damages because consumers could not
              separately purchase components of the smartphones. The question
              before us is whether that reading is consistent with § 289. We hold that it
              is not.

              […]

              Arriving at a damages award under § 289 thus involves two steps. First,
              identify the ‘article of manufacture’ to which the infringed design has been
              applied. Second, calculate the infringer’s total profit made on that article
              of manufacture.”




538
    Davis 2018 Report, p. 61. [2.2]
539
    Davis 2018 Report, p. 62. [2.2]
540
    Samsung Electronics Co., Ltd. v. Apple Inc., 137 S.Ct. 429, Supreme Court 2016, at page 432, 434.
    [20.3]



                                                                                                    153
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        351.     I understand that the District Court subsequently issued an order to “set forth the
method for determining the relevant article of manufacture for the purpose of § 289,” and
ordered a new trial on both the relevant article of manufacture and on damages.541


         3.    Opinions Regarding Samsung’s Profits from Sales of Products Found to
               Infringe the D’677, D’087, and D’305 Patents

        352.     One input relevant to calculating the total profit related to the articles of
manufacture identified by the parties is the profit that Samsung earned on the 16 phones found
to infringe at least one design patent. To differentiate the profit on the entire phone from the
total profit related to the article of manufacture, I will refer to the profit that Samsung earns on
the entire phone as “Samsung’s Entire Profits.”          Ms. Davis has performed a calculation of
Samsung’s Entire Profits based on total revenues, based on Samsung’s gross margin, and
based on Samsung’s “incremental profit.”542 As described more fully below, I have concluded
that Samsung’s COGS and operating expenses are deductible expenses as they are related to
and necessary for the sale and manufacture of the accused products.


                   a)   Samsung’s Sales Data

        353.     Samsung has produced updated sales data and expense data for STA, SEA, and
SEC.543 The sales data include monthly data covering the period May 2010 through June 2012
for 33 Samsung products.544        For each of the 3 Samsung entities, the sales data include
quantity (in units), sales ($), cost of goods sold (COGS), and operating expenses broken down
into major operating expense categories.

        354.     SEA and STA are the only Samsung entities that sell into the United States.545
Therefore Samsung’s U.S. sales of the accused products are determined by the sales of the
accused products by SEA and STA. Mr. Sheppard testified that STA sells Samsung’s mobile
phones in the United States.546 Therefore, SEA does not sell any devices in the United States



541
    Order Requiring New Trial on Design Patent Damages, October 22, 2017, pp. 2, 35. [20.2]
542
    Davis 2018 Report, pp. 62-64. [2.2]
543
    SAMNDCA00422828.
544
    I understand that the product referred to as “Galaxy Tab (JX 1036)” in the Amended Jury Verdict is the
    product referred to as “Galaxy Tab 7.0 (3G)” in Samsung’s sales data. Therefore, I have used this
    data in my analysis, which matches with the data used by Ms. Davis in her analysis.
545
    Deposition of Jaehwang Sim, March 10, 2012, pp. 119-120, 142-143. [4.5]
546
    Deposition of Timothy Sheppard, January 24, 2012, pp. 26-28, 86-87. [3.22]



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      Michael J. Wagner




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